FILED: KINGS COUNTY CLERK 02/14/2024 08:21 AM                                                         INDEX NO. 504456/2024
             Case
NYSCEF DOC. NO. 1 1:24-cv-02325 Document 1-1 Filed 03/28/24 Page 1 of 4 PageID
                                                                   RECEIVED    #: 6 02/14/2024
                                                                             NYSCEF:




         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF KINGS
          ----------------------------------------------------------------X
          VOX FUNDING LLC,                                                       Filed:
                                                                                 Index No.:
                            Plaintiff,
                   -against-                                                     Plaintiff designates KINGS
                                                                                 County as the place of Trial
          CXOSYNC LLC D/B/A CXOSYNC and RUPEN
          PATEL,                              SUMMONS WITH NOTICE

                             Defendants.                                         The basis of the venue is
          ----------------------------------------------------------------X      contractual pursuant to CPLR §
                                                                                 501.

         TO THE ABOVE-NAMED DEFENDANTS
                 YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve
         a copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
         appearance, on the Plaintiffs’ Attorney(s) within 20 days after the service of this summons,
         exclusive of the day of service (or within 30 days after the service is complete if this summons is
         not personally delivered to you within the State of New York); and in case of your failure to
         appear or answer, judgment will be taken against you by default for the relief demanded in the
         complaint.
                 NOTICE: The nature of this action is for breach of contract and guaranty therefor, where
         the Defendants sold and/or guaranteed the payment of future receivables to Plaintiff(s) and have
         defaulted their obligations under the terms of the Merchant Agreement dated 1/5/2023.
                 The relief sought is judgment, jointly and severally, against the Defendants in the sum
         of $82,495.36.
              UPON YOUR FAILURE TO APPEAR, JUDGMENT WILL BE TAKEN AGAINST
         YOU IN THE SUM OF $82,495.36 PLUS INTEREST AT THE STATUTORY RATE
         FROM THE DATE OF DEFAULT, PLUS COSTS OF THIS ACTION AND
         REASONABLE ATTORNEYS’ FEES.
         Dated: New York, New York
                February 14, 2024

                                                                         AINSWORTH GORKIN PLLC

                                                                         By:
                                                                               Yeshaya Gorkin, Esq.
                                                                               P.O. Box 605
                                                                               New York, NY 10038
                                                                               Tel. (212) 913-0217




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                                                                             NYSCEF:




         DEFENDANTS’ ADDRESSES:
         CXOSYNC LLC D/B/A CXOSYNC
         1900 E GOLF RD STE 500, SCHAUMBURG, IL 60173

         RUPEN PATEL
         1600 S PRAIRIE AVE UNIT 1208, CHICAGO, IL 60616




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                                                                             NYSCEF:




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF KINGS
           ----------------------------------------------------------------X
           VOX FUNDING LLC,
                                                                               Index No.:
                             Plaintiff,

                    -against-

           CXOSYNC LLC D/B/A CXOSYNC and RUPEN
           PATEL,

                              Defendants.
           ----------------------------------------------------------------X

                                           NOTICE OF ELECTRONIC FILING
                                                        (Mandatory Case)
                                                    (Uniform Rule § 202.5-bb)
          You have received this Notice because:
                1) The Plaintiff/Petitioner, whose name is listed above, has filed this case using the New
                   York State Courts E-filing system (“NYSCEF”), and
                2) You are a Defendant/Respondent (a party) in this case.


        If you are represented by an attorney: Give this Notice to your attorney. (Attorneys: see
         “Information for Attorneys” pg. 2).
        If you are not represented by an attorney:
          You will be served with all documents in paper and you must serve and file your documents
          in paper, unless you choose to participate in e-filing.
          If you choose to participate in e-filing, you must have access to a computer and a scanner or
          other device to convert documents into electronic format, a connection to the internet, and
          an e-mail address to receive service of documents.
          The benefits of participating in e-filing include:
      ●   serving and filing your documents electronically
      ●   free access to view and print your e-filed documents
      ●   limiting your number of trips to the courthouse
      ●   paying any court fees on-line (credit card needed)

          To register for e-filing or for more information about how e-filing works:
      ● visit: www.nycourts.gov/efile-unrepresented or
      ● contact the Clerk’s Office or Help Center at the court where the case was filed. Court contact
        information can be found at www.nycourts.gov
      ● To find legal information to help you represent yourself visit www.nycourthelp.gov




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                                                                             NYSCEF:




                                           Information for Attorneys
                                     (E-filing is Mandatory for Attorneys)
                An attorney representing a party who is served with this notice must either:
              1)      Immediately record his or her representation within the e-filed matter on the
         NYSCEF site www.nycourts.gov/efile; or

                 2)      File the Notice of Opt-Out form with the clerk of the court where this action is
         pending and serve on all parties. Exemptions from mandatory e-filing are limited to attorneys
         who certify in good faith that they lack the computer hardware and/or scanner and/or internet
         connection or that they lack (along with all employees subject to their direction) the knowledge to
         operate such equipment. [Section 202.5-bb(e)]

                For additional information about electronic filing and to create a NYSCEF account, visit
         the NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center
         (phone: 646-386-3033; e-mail: efile@nycourts.gov).

         Dated: New York, New York
                February 14, 2024
                                                               AINSWORTH GORKIN PLLC

                                                               By:
                                                                     Yeshaya Gorkin, Esq.
                                                                     P.O. Box 605
                                                                     New York, NY 10038
                                                                     Tel. (212) 913-0217

         DEFENDANTS’ ADDRESSES:
         CXOSYNC LLC D/B/A CXOSYNC
         1900 E GOLF RD STE 500, SCHAUMBURG, IL 60173

         RUPEN PATEL
         1600 S PRAIRIE AVE UNIT 1208, CHICAGO, IL 60616




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